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  EXHIBIT C
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                                                                 Financial Interest Analysis

Company Name:         Spirit AeroSystems Holdings, Inc.
Ticker:               SPR
Class Period:         04/08/2020 - 04/13/2023
Name:                 Hang Li

Account 1
      Date                  Shares            Price Bought           Total Bought           Price Sold      Total Sold           Balance
          4/24/2020                5,600                $18.00             -$100,800.00                                  $0.00     -$100,800.00
          4/27/2020                5,600                $18.00             -$100,800.00                                  $0.00     -$100,800.00
          5/13/2020                5,882                $17.00              -$99,994.00                                  $0.00      -$99,994.00
          5/14/2020                6,250                $16.00             -$100,000.00                                  $0.00     -$100,000.00
           8/4/2020                5,555                $18.00              -$99,990.00                                  $0.00      -$99,990.00
          9/23/2020                5,586                $17.90              -$99,989.40                                  $0.00      -$99,989.40
          9/23/2020                5,617                $17.80              -$99,982.60                                  $0.00      -$99,982.60
          9/23/2020                5,555                $17.99              -$99,934.45                                  $0.00      -$99,934.45
        10/15/2020                 5,618                $17.80             -$100,000.40                                  $0.00     -$100,000.40
        10/15/2020                 5,586                $17.90              -$99,989.40                                  $0.00      -$99,989.40
        10/30/2020                 5,586                $17.90              -$99,989.40                                  $0.00      -$99,989.40
        10/30/2020                 5,617                $17.80              -$99,982.60                                  $0.00      -$99,982.60
        12/15/2020                16,680                $35.90             -$598,812.00                                  $0.00     -$598,812.00
          1/27/2021                5,571                $35.90             -$199,998.90                                  $0.00     -$199,998.90
          1/27/2021               14,326                $34.90             -$499,977.40                                  $0.00     -$499,977.40
          3/22/2021               20,500                $48.85           -$1,001,425.00                                  $0.00   -$1,001,425.00
          3/24/2021               15,000                $46.80             -$702,000.00                                  $0.00     -$702,000.00
          4/20/2021                6,666                $45.00             -$299,970.00                                  $0.00     -$299,970.00
           7/7/2021                6,681                $44.90             -$299,976.90                                  $0.00     -$299,976.90
          8/30/2021               12,658                $39.50             -$499,991.00                                  $0.00     -$499,991.00
          9/28/2021               11,500                $43.00             -$494,500.00                                  $0.00     -$494,500.00
        10/27/2021                 4,761                $42.00             -$199,962.00                                  $0.00     -$199,962.00
          12/1/2021                6,000                $37.50             -$225,000.00                                  $0.00     -$225,000.00

Shares Retained:                 188,395                                                                           Subtotal:     -$6,223,065.45
                                                                  90-Day Average Price    Shares Retained   90-Day Average:       $5,253,056.89
                                                                       $27.8832               188,395       Account 1 Total:       -$970,008.56
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                                                                  Financial Interest Analysis

Account 2
      Date                  Shares             Price Bought             Total Bought               Price Sold               Total Sold              Balance
        10/30/2020                   2,152               $17.80                -$38,305.60                                               $0.00         -$38,305.60
          3/22/2021                    123               $48.80                 -$6,002.40                                               $0.00          -$6,002.40

Shares Retained:                     2,275                                                                                         Subtotal:           -$44,308.00
                                                                   90-Day Average Price         Shares Retained             90-Day Average:             $63,434.30
                                                                        $27.8832                     2,275                  Account 2 Total:            $19,126.30

Account 3
      Date                  Shares             Price Bought             Total Bought               Price Sold               Total Sold              Balance
          9/23/2020                   576                $17.99                -$10,362.24                                               $0.00         -$10,362.24

Shares Retained:                      576                                                                                          Subtotal:           -$10,362.24
                                                                   90-Day Average Price         Shares Retained             90-Day Average:             $16,060.73
                                                                        $27.8832                      576                   Account 3 Total:             $5,698.49

                                                                                                                           Hang Li Financial Interest (SPR)
                                                                                                                     Account 1                        -$970,008.56
                                                                                                                     Account 2                          $19,126.30
                                                                                                                     Account 3                           $5,698.49
                                                                                                                     Total                            -$945,183.77

Note
The 90-Day Average Price used in this loss chart is the average closing price between April 14, 2023 to June 29, 2023.
